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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

       Plaintiff-Respondent,                             Case No. 19-CR-20224

                                                         Honorable Nancy G. Edmunds
v.

 RICHARD WHITTINGHAM,

       Defendant-Petitioner.

________________________________/

         OPINION AND ORDER DENYING DEFENDANT’S MOTION UNDER
     28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT SENTENCE [58]

       Defendant-Petitioner Richard Whittingham moves the Court, through counsel, to

vacate, set aside, or correct his sentence under 28 U.S.C. § 2255. (ECF Nos. 58, 63.)

The government opposes the motion. (ECF No. 69.) Defendant has filed a reply. (ECF

No. 70.) For the reasons below, the Court DENIES Defendant’s § 2255 motion.

I.     Background

       On April 16, 2019, Defendant was indicted in this district on three counts:

1) possession with intent to distribute controlled substances in violation of 21 U.S.C.

§ 841(a)(1); 2) being a felon in possession of firearms in violation of 18 U.S.C. § 922(g)(1);

and 3) possession of a firearm in furtherance of a drug trafficking crime in violation of 18

U.S.C. § 924(c). (ECF No. 14.) Counts 1, 2, and 3 in the original indictment had maximum

penalties of 30 years, 10 years, and life in prison, respectively. (ECF No. 17.) On February

26, 2020, Defendant was charged in a first superseding information with the same crimes

accompanied by a list of predicate convictions. This triggered application of the Armed

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Career Criminal Act. (ECF No. 26.) As a result, penalties for Counts 2 and 3 were adjusted

to a mandatory minimum of 15 years and up to life in prison and a mandatory minimum

of 5 years and up to life in prison, respectively. (ECF No. 28.) Defendant acknowledged

his understanding of these alleviated penalties. (Id. at PageID.63.) On February 16, 2022,

Defendant pled guilty to Counts 1 and 3 in exchange for the government’s agreement to

dismiss Count 2 in the superseding information pursuant to a Rule 11 plea agreement.

(ECF No. 45.)

      In the plea agreement, Defendant acknowledged maximum potential sentences of

20 years and life in prison for Counts 1 and 3, respectively. The agreement confirmed in

writing Defendant’s understanding of the 5-year mandatory minimum sentence on Count

3. The agreement further confirmed Defendant’s understanding that his sentence of

imprisonment on Count 3 must run consecutively to that on Count 1. (Id. at PageID.191.)

The agreement also expressed the parties’ view that Defendant’s sentence may not

exceed 192 months and may not fall below 144 months. According to the agreement’s

terms, the government could have withdrawn from the agreement if the Court had

sentenced below this range, and Defendant could have withdrawn if the Court had

sentenced above it. The agreement specified that the “only reason” Defendant could

withdraw his plea was in the case that the Court imposed a sentence exceeding 192

months. (Id. at PageID.199-200.)

      The parties appeared before the Court for a plea hearing on February 16, 2022.

(ECF No. 68.) At the hearing, the prosecutor stated on the record that the parties agreed

that the sentence would fall between 144 to 192 months. (Id. at PageID.411.) In colloquy

with the Court, Defendant said that he was satisfied with his then-trial counsel’s advice



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and legal services. (Id. at PageID.414.) Further, Defendant confirmed that he signed the

plea agreement, and that the agreement was the basis on which he was pleading guilty.

Defendant then proceeded to plead guilty to Counts 1 and 3, consistent with the

agreement. (Id. at PageID.420.) Defendant told the Court his plea was not the result of

any promises or assurances. Lastly, Defendant confirmed that he agreed with the terms

of the Rule 11 agreement as stated on the record. (Id. at PageID.421.) The Court

accepted the plea. (Id. at PageID.424.) At sentencing, the Court imposed a term of

imprisonment of 84 months for Count 1 and 60 months for Count 3, to run consecutive,

for a total of 144 months. (ECF No. 53.) Defendant now brings this motion pursuant to

§ 2255.

II.    Standard of Review

       Under § 2255(a), “[a] prisoner in custody under sentence of a [federal] court . . .

claiming the right to be released . . . may move the court which imposed the sentence to

vacate, set aside or correct the sentence.” To prevail on a § 2255 motion, the petitioner

must allege: “(1) an error of constitutional magnitude; (2) a sentence imposed outside the

statutory limits; or (3) an error of fact or law that was so fundamental as to render the

entire proceeding invalid.” Mallett v. United States, 334 F.3d 491, 496-97 (6th Cir. 2003)

(quotation marks and citation omitted); see also Anderson v. United States, 246 F. Supp.

2d 758, 760 (E.D. Mich. 2003).

III.   Analysis

       Defendant argues he received ineffective assistance of counsel. A defendant has

a right to “reasonably effective assistance” of counsel. Strickland v. Washington, 466 U.S.

668, 687 (1984). To establish an ineffective assistance of counsel claim, the defendant



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must prove both that 1) “counsel’s performance was deficient” and 2) “the deficient

performance prejudiced the defense.” Id. The first prong “requires showing that counsel

made errors so serious that counsel was not functioning as the counsel guaranteed the

defendant by the Sixth Amendment,” and the second prong “requires showing that

counsel’s errors were so serious as to deprive the defendant of a fair trial, a trial whose

result is reliable.” Id.

        “[T]here is a strong presumption that legal counsel is competent.” United States v.

Osterbrock, 891 F.2d 1216, 1220 (6th Cir. 1989). Because the defendant must overcome

the presumption that the challenged action may be considered sound strategy, Strickland,

466 U.S. at 689, “[a] reviewing court must give a highly deferential scrutiny to counsel’s

performance,” Ward v. United States, 995 F.2d 1317, 1321 (6th Cir. 1993). “The

reasonableness of counsel’s performance is to be evaluated from counsel’s perspective

at the time of the alleged error and in light of all the circumstances.” Kimmelman v.

Morrison, 477 U.S. 365, 384 (1986). “The defendant must show that there is a reasonable

probability that, but for counsel’s unprofessional errors, the result of the proceeding would

have been different. A reasonable probability is a probability sufficient to undermine

confidence in the outcome.” Strickland, 466 U.S. at 694. The defendant bears the burden

of proving both prongs of the analysis. Id. at 687.

        Defendant first argues that Counsel’s erroneous pre-plea advice resulted in an

involuntary and unintelligent guilty plea. (ECF No. 63, PageID.385.) In support of this

claim, Defendant has submitted a declaration stating that Counsel misled him by

informing him that a guilty plea would result in a sentence of five years for Count 3 and




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probation for Count 1. (ECF No. 63-1.) The declaration further alleges that Counsel

informed him his sentence would run concurrent and not consecutive. Id.

       Additionally, Defendant alleges that when he expressed his desire to go to trial,

Counsel refused and told him to get another attorney. (ECF No. 63-1.) Defendant avers

that he would not have pled guilty without Counsel’s assurances and errors (ECF No. 63,

PageID.386.)

       Defendant further alleges that Counsel failed to challenge evidence on two

occasions. First, Defendant declares that he informed Counsel that statements he made

to the police were not voluntary and that Counsel failed to file a motion to suppress. (ECF

No. 63-1.) Second, Defendant states that he did not possess a firearm during any drug

transaction and that the government could not prove his knowledge of any guns found at

the residence but Counsel, again, failed to file a motion to suppress. (Id.) In both

instances, Defendant alleges the Court would have more than likely ordered an

evidentiary hearing and facts gathered would have given Defendant the probability of a

more favorable outcome. (ECF No. 63, PageID.385-86.)

       Finally, Defendant alleges that Counsel did not argue for probation at sentencing

as he promised him. (ECF No. 63-1.) Defendant avers there is a reasonable probability

that raising this argument would have resulted in a shorter sentence. (ECF No. 58,

PageID.353.)

       First, the Court addresses Defendant’s allegation that Counsel did not request a

sentence of probation. Defendant received a sentence of 144 months, the minimum

sentence under the plea agreement. A shorter sentence would have enabled the

government to withdraw from the plea agreement. (ECF No. 68, PageID.411.) Had the



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parties gone to trial, Defendant would have risked a significantly longer sentence. Thus,

Defendant cannot establish prejudice on this basis.

       Additionally, Defendant fails to meet his burden of proof regarding his allegations

that Counsel failed to challenge certain evidence. Regarding evidence of his statements

to the police, Defendant simply says they were “not voluntary,” with no additional support.

(ECF No. 63-1.) “[U]nsupported and conclusory averments are insufficient to sustain his

burden of establishing a violation of his sixth amendment right to effective assistance of

counsel.” See Lynott v. Story, 929 F.2d 228, 232 (6th Cir. 1991). Regarding evidence of

his firearm possession, Defendant merely claims that he did not possess the firearm

during any transaction. (ECF No. 63-1.) “[E]vidence should be suppressed ‘only if it can

be said that the law enforcement officer had knowledge, or may properly be charged with

knowledge, that the search was unconstitutional under the Fourth Amendment.’” Illinois

v. Krull, 480 U.S. 340, 348-49 (1987) (quoting United States v. Peltier, 422 U.S. 531, 542

(1975)). Defendant does not allege a constitutional violation and, therefore, there was no

basis for the suppression of evidence. Counsel was not deficient for failing to file a motion

that lacks merit.

       Further, Defendant’s claims that Counsel failed to explain the terms of the plea

agreement contradict his dialogue with the Court. As a general matter, a defendant may

satisfy the prejudice prong of Strickland if he shows there is a reasonable probability that

but for counsel’s errors, he would not have pled guilty and would have insisted on going

to trial. Hill v. Lockhart, 474 U.S. 52, 60 (1985). However, a proper plea colloquy cures

any prejudice stemming from a defense counsel’s inaccurate statements about a plea

agreement. See Ramos v. Rogers, 170 F.3d 560, 565 (6th Cir. 1999); Warner v. United



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States, 975 F.2d 1207, 1214 (6th Cir. 1992). Here, the Court confirmed that Defendant

agreed with the terms of the Rule 11 agreement, which noted the agreed-upon sentence

of 144 to 192 months. (ECF No. 68, PageID.420.) The Court also asked Defendant if he

was pleading guilty because of any other promise or assurance made to him. He

confirmed that nobody had made such a promise or assurance. (Id. at PageID.421); see

Warner, 975 F.2d at 1212 (noting that where the district court has followed the required

Rule 11 procedure, “the defendant is bound by his statements in response to the court’s

inquiry”) (internal quotation marks and citation omitted). Thus, even if Counsel had

provided erroneous pre-plea advice, Defendant cannot establish that the advice

prejudiced his defense.

       Defendant’s claim that his plea was involuntary is similarly cured by the proper

plea colloquy. During the hearing, Defendant said that he was satisfied with Counsel’s

advice and legal services. (ECF No. 68, PageID.414.) An evidentiary hearing is

unnecessary where the record clearly contradicts Defendant’s claim. See Baker v. United

States, 781 F.2d 85, 92 (1986). Further, Defendant’s claim that he felt pressured to plead

guilty because he could not afford an attorney is unpersuasive. He could have asked his

attorney to withdraw and sought new counsel. However, he failed to do so. Defendant is

therefore not entitled to relief on his ineffective assistance of counsel claims.

IV.    Request for Evidentiary Hearing

       Defendant requests the Court hold an evidentiary hearing in connection with his

ineffective assistance of counsel claims. After reviewing the briefs and materials

submitted by the parties and the entire record in this case, the Court finds an evidentiary

hearing is not needed because “the record conclusively shows that the petitioner is



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entitled to no relief.” See Valentine v. United States, 488 F.3d 325, 333 (6th Cir. 2007)

(quotation marks and citation omitted).

V.     Certificate of Appealability

       Federal Rule of Appellate Procedure 22(b) provides that a petitioner cannot take

an appeal in § 2255 proceeding unless a certificate of appealability is issued under 28

U.S.C. § 2253(c). Rule 11 of the Rules Governing Section 2255 Proceedings requires

that a “district court must issue or deny a certificate of appealability when it enters a final

order adverse to the applicant.” To receive a certificate of appealability, “a petitioner must

show that reasonable jurists could debate whether (or, for that matter, agree that) the

petition should have been resolved in a different manner or that the issues presented

were adequate to deserve encouragement to proceed further.” Miller-El v. Cockrell, 537

U.S. 322, 336 (2003) (quotation marks and citation omitted).

       Because Defendant has failed to show that reasonable jurists could debate

whether his petition should have been resolved in a different matter, the Court denies him

a certificate of appealability.

IV.   Conclusion

       Based upon the foregoing, IT IS ORDERED that Defendant’s motion for post-

conviction relief is DENIED WITH PREJUDICE. IT IS FURTHER ORDERED that a

certificate of appealability is DENIED.

       SO ORDERED.

                                    s/Nancy G. Edmunds
                                    Nancy G. Edmunds
                                    United States District Judge
Dated: June 24, 2024


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                             CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing document was served upon counsel of record
on June 24, 2024, by electronic and/or ordinary mail.

                                 s/Marlena A. Williams
                                 Case Manager




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